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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 In re:
                                                       Case No. 8:24-bk-00676-RCT
 THE CENTER FOR SPECIAL NEEDS
 TRUST ADMINISTRATION, INC.,
                                                       Chapter 11
          Debtor.
                                        /

                 APPELLANTS’ STATEMENT OF THE ISSUES ON APPEAL

          Appellants, Clark Chamberlin, by and through his parents and co-guardians Todd

Chamberlin and Kelli Chamberlin (“Appellants”), pursuant to Rule 8009(a) of the Federal Rules

of Bankruptcy Procedure, respectfully submit this Statement of the Issues on Appeal, in connection

with Appellants’ Notice of Appeal and Statement of Election (Doc. 323):

          1.     Whether the Bankruptcy Court erred in holding that the 11 U.S.C. § 362 automatic

stay applies to claims seeking damages against non-debtor defendants for harm to non-debtor

plaintiffs’ special needs trusts.

          2.     Whether causes of action arising from and seeking damages for injuries to non-

debtor beneficiaries’ special needs trusts are the non-debtor beneficiaries’ direct claims.

          3.     Whether the Chapter 11 Trustee has standing to pursue causes of action against non-

debtor defendants arising from injuries to non-debtor beneficiaries’ special needs trusts.

          4.     Whether the Bankruptcy Court erred in determining that claims arising from and

seeking damages for injuries to non-debtor plaintiffs’ special needs trusts are property of the

bankruptcy estate.
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       5.      Whether the Bankruptcy Court erred in holding that claims against non-debtor

tortfeasors jointly liable with the Debtor for injuries to non-debtor plaintiffs’ special needs trust

property are claims against the Debtor.

       6.      Whether the Bankruptcy Court erred in holding that potential interference with the

Chapter 11 Trustee’s work and the administration of the underlying bankruptcy case constitutes a

violation of the 11 U.S.C. § 362 automatic stay.

       Appellants reserve the right, to the fullest extent permissible, to supplement or amend this

Statement of the Issues on Appeal.

Dated: September 3, 2024                      Respectfully submitted.

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                                              Attorneys for Appellants Clark Chamberlin, Todd
                                              Chamberlin, and Kelli Chamberlin

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 3, 2024, I filed a true and correct copy of the
foregoing with the United States Bankruptcy Court for the Middle District of Florida using the
Court’s CM/ECF system, which will serve copies on all counsel of record. Additionally, Epiq
Corporate Restructuring, LLC will cause a true and correct copy of the foregoing document to be
served on all parties required to be served, including (i) the Chapter 11 Trustee, (ii) the Official
Committee of Unsecured Creditors, (iii) American Momentum Bank, and (iv) the Local Rule 1007-
2 Parties in Interest List.
                                              By:    /s/ Caroline Herter
                                                     CAROLINE HERTER




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